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                                                                         The Honorable Tana Lin
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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9
10                                                       NO. CR23-084-TL
      UNITED STATES OF AMERICA,
11
                                Plaintiff
12                                                       UNITED STATES’ STATUS
                          v.
13                                                       REPORT RE: ORDER ON MOTION
      NEVIN SHETTY,                                      TO COMPEL BRADY MATERIAL
14
                               Defendant.
15
16          The United States respectfully submits this status report regarding the Court’s order
17 on the defendant’s motion to compel discovery of Brady material. Dkt. 102.
18          The day after receiving the Court’s order, the undersigned counsel contacted the
19 prosecution team handling the Do Kwon matter in New York. The New York team
20 conveyed three important points about their case. First, their case file contains more than
21 seven terabytes of data, making it one of the largest active investigative databases in the
22 Southern District of New York. Second, because their investigation is ongoing, the New
23 York team’s case file is not static and will continue to expand as that team advances its
24 investigation into participants in the Terraform fraud and develops further evidence to
25 support Kwon’s extradition from Montenegro. Third, because Kwon has not yet appeared
26
27
     Status Report - 1                                                UNITED STATES ATTORNEY
     United States v. Nevin Shetty, CR23-084-TL                      700 STEWART STREET, SUITE 5220
                                                                       SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
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 1 in the case, the New York team has not prepared a collection of discoverable records that
 2 could be readily produced to any party.
 3          Under these circumstances, it is not possible for the United States Attorney’s Office
 4 for the Western District of Washington to obtain or review the Kwon investigative file as
 5 required by the Court’s order. After receiving this information, the government promptly
 6 contacted defendant Nevin Shetty’s lawyers to discuss this situation and possible
 7 alternatives that would serve the same purpose as Shetty’s discovery request. The parties
 8 met and conferred telephonically on December 9, December 11, and December 12. At
 9 present, the parties are discussing a possible agreement to a set of factual stipulations about
10 Kwon’s fraud that would obviate the need for discovery from New York while still allowing
11 Shetty to make his argument that he believed UST was safe.
12          The government recognizes that the Court included a 30-day time limit in its order.
13 If the parties cannot reach agreement, either on stipulations or some other alternative, the
14 government will further apprise the Court and request appropriate relief.
15          DATED this 16th day of December, 2024.
16
17                                                       Respectfully submitted,
18
                                                         TESSA M. GORMAN
19                                                       United States Attorney

20
21                                                       s/ Philip Kopczynski
                                                         PHILIP KOPCZYNSKI
22                                                       Assistant United States Attorney
                                                         700 Stewart Street, Suite 5220
23
                                                         Seattle, WA 98101-1271
24                                                       Telephone: (206) 553-7970
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25                                                       Email: philip.kopczynski@usdoj.gov
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27
     Status Report - 2                                                UNITED STATES ATTORNEY
     United States v. Nevin Shetty, CR23-084-TL                      700 STEWART STREET, SUITE 5220
                                                                       SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
